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                     Exhibit A
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Tobin, Charles D. (DC)

From:                             Becker, Keith (CRM) <Keith.Becker@usdoj.gov>
Sent:                             Saturday, June 5, 2021 11:08 AM
To:                               Tobin, Charles D. (DC); Mishkin, Maxwell S. (DC)
Cc:                               Smith, Tracie E. (CID) (FBI); Donahue, J. Brooke (CID) (FBI)
Subject:                          FBI Administrative subpoena no. 690538



⚠ EXTERNAL
Mr. Tobin/Mr. Mishkin:

The FBI is withdrawing administrative subpoena no. 690538 because the child sexual exploitation offender subject of the
investigation has at this time been identified via other means. Thank you.

Keith A. Becker
Deputy Chief
U.S. Department of Justice, Criminal Division
Child Exploitation and Obscenity Section
(202) 305-4104 (o)
(202) 436-5363 (c)




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